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 1   HEATHER E. WILLIAMS, CA Bar #122664
     Federal Defender
 2   ERIN SNIDER, OR Bar #116342
     Assistant Federal Defender
 3   Designated Counsel for Service
     2300 Tulare Street, Suite 330
 4   Fresno, CA 93721-2226
     Telephone: (559) 487-5561
 5   Fax: (559) 487-5950

 6   Attorney for Defendant
     VIVIAN MARIE WILLIAMS
 7
 8                                 IN THE UNITED STATES DISTRICT COURT

 9                                FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11    UNITED STATES OF AMERICA,                   )   Case No. 1:15-cr-00028-AWI-BAM
                                                  )
12                        Plaintiff,              )
                                                  )   REQUEST FOR RULE 43 WAIVER OF
13    vs.                                         )   APPEARANCE FOR DEFENDANT; ORDER
                                                  )   THEREON
14    VIVIAN MARIE WILLIAMS,                      )
                                                  )
15                       Defendant.               )
                                                  )
16                                                )

17           Pursuant to Federal Rule of Criminal Procedure 43(b)(3), Defendant Vivian Marie
18   Williams, having been advised of her right to be present at all stages of the proceedings, hereby
19   requests that this Court proceed in her absence on every occasion that the Court may permit,
20   pursuant to this waiver. Defendant agrees that her interests shall be represented at all times by
21   the presence of her attorney, the Office of the Federal Defender for the Eastern District of
22   California, the same as if Defendant were personally present, and requests that this Court allow
23   her attorney-in-fact to represent her interests at all times. Defendant further agrees that notice to
24   Defendant’s attorney that Defendant’s presence is required will be deemed notice to the
25   Defendant of the requirement of her appearance at said time and place.
26           Defendant lives in Stockton, California, and is the sole caretaker for her nephew. It is a
27   serious hardship for Defendant to find child care and travel to Fresno for court appearances.
28   Defendant understands that she will need to be present at any hearing involving any substantive


      Williams / Rule 43 Waiver                        -1-
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 1   issue. Defendant respectfully requests that the Court waive her appearance at all non-substantive

 2   hearings, including the July 27, 2015 status conference.

 3
 4           DATED: July 22, 2015                         /s/ Vivian Marie Williams
                                                          Vivian Marie Williams
 5
 6           DATED: July 22, 2015                         /s/ Erin Snider
                                                          Erin Snider
 7                                                        Assistant Federal Defender
                                                          Attorney for Defendant
 8                                                        Vivian Marie Williams

 9
10   IT IS SO ORDERED.

11
        Dated:       July 22, 2015                              /s/ Barbara A. McAuliffe          _
12                                                     UNITED STATES MAGISTRATE JUDGE
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      Williams / Rule 43 Waiver                     -2-
